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                                        IN THE UNITED STATES DISTRICT COURT
        05 01s,
                                   FOR THE EASTERN DISTRICT OF NORTH CAROUNA




                                                                               NO.
                                                                       6: 2..1-tV-oD    l/73-Bo
                                                                            COMPLAINT




                                                                           if known:




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The acts complained of in          suit concern:




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 DATE




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